Case 2:12-cr-00083-APG-GWF     Document 182    Filed 11/15/13    Page 1 of 2




                      UNITED STATES DISTRICT COURT

                              DISTRICT OF NEVADA

                                     * * *

UNITED STATES OF AMERICA,               )
                                        )
               Plaintiff,               )
                                        )           2:12-CR-083-APG-GWF
vs.                                     )
                                        )                   O R D E R
ROBERT KEPHART,                         )
                                        )
               Defendant.               )
                                        )
                                        )



      On November 8, 2013, this matter came before the Court for an

Initial Appearance on the government's petition for action on

conditions of pretrial release (#174).              The defendant was present,

in custody, with his counsel. The defendant submitted to revocation

of his pretrial release and waived the revocation hearing. The court

canvassed the defendant who acknowledged he understood he had the

right to a contested hearing at which the government would be

required to prove that he had violated the conditions of his

pretrial release.      The defendant also acknowledged that he had

discussed   the   matter     with   counsel   and     was   satisfied    with the

representation    received     to   date.     The    government    accepted    the
Case 2:12-cr-00083-APG-GWF   Document 182    Filed 11/15/13   Page 2 of 2




revocation of pretrial release without the defendant’s admission of

guilt to the underlying offense.            The Court finds based on the

parties’ stipulation and the court’s canvass of the defendant               that

the defendant waived his right to have a revocation hearing with

knowledge and understanding of its consequences.

      Based on the factors set forth in        18 U.S.C. § 3142(g), there

is no condition or combination of conditions of release that will

assure that the person will not flee or pose a danger to the safety

of any other person or the community;

      The defendant is unlikely to abide by any condition or

combination of conditions of release.

      IT IS THEREFORE ORDERED pursuant to the provisions of 18

U.S.C. § 3148 that the release order heretofore entered on

September 18, 2012, is hereby revoked.

      IT IS FURTHER ORDERED that the defendant shall be detained

pending trial.

      DATED this 12th day of November, 2013.




                                 PEGGY A. LEEN
                                 UNITED STATES MAGISTRATE JUDGE




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